319 F.2d 855
    Ernest James LOPUS, Petitioner,v.UNITED STATES ATTORNEY GENERAL, Respondent.
    No. 1560-M.
    United States Court of Appeals Ninth Circuit.
    June 26, 1963.
    
      Ernest James Lopus, in pro. per.
      Sidney I. Lezak, U.S. Atty., Portland, Or., for respondent.
      Before POPE, MERRILL and BROWNING, Circuit Judges.
      PER CURIAM.
    
    
      1
      Leave to proceed in forma pauperis is granted. 'The second sentence of 4246 clearly makes commitment under 4248 applicable to persons found mentally incompetent under 4244 who meet the conditions specified in 4247' (Greenwood v. United States, 350 U.S. 366, 374, 76 S.Ct. 410, 100 L.Ed. 412 (1956), and the District Court erred in holding to the contrary.  The judgment is reversed and the cause remanded for 'a hearing to determine the existence of the conditions specified in 4247,' and for the entry of appropriate findings and judgment thereon in accordance with the proviso of Section 4248.  Op. cit. supra.
    
    